Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD Page 1 of 60

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States Distnct Court
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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS NOV 1 2.2002
McALLEN DIVISION Michael N. Milby, Clerk of Court
VENTURA CERDA AND
CELIA CERDA
VS. CIVIL ACTION NUMBER M-02-118

HARTFORD LLOYD'S
INSURANCE COMPANY

MUU 1) UI ) )

DEFENDANT HARTFORD LLOYDS INSURANCE COMPANY’S MOTION TO
EXCLUDE PLAINTIFFS VENTURA CERDA AND CELIA CERDA’S EXPERT
WITNESS MIKE KRISMER

TO THE HONORABLE JUDGE OF SAID COURT:

NOW COMES DEFENDANT, Hartford Lloyds Insurance Company and makes this
it's Motion to Exclude Plaintiffs Ventura Cerda and Celia Cerda’s previously designated
expert witness, Mike Krismer, and for such would show unto the Court as follows:

[.

This Motion is brought before the Court under FEDERAL RULES OF CIVIL
PROCEDURE 16(c)(4).

Hl.

On September 5, 2002, this Court entered it’s “SCHEDULING ORDER’. Paragraph
1 of which states as follows:

i

November 1, 2002 - All Discovery must be completed by this date . No
Motion for extension of time will be granted unless there is a showing of
express need and that good cause exists”. (See Exhibit “A” attached hereto)

 

 

Defendant Hartford Lloyd’s Insurance Company's Motion to Exclude Plaintiffs Ventura Cerda and Celia Cerda’s
Motion to Exclude Plaintiffs’ Expert Mike Krismer
Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD_ Page 2 of 60

“October 2, 2002 - Motions for Extension of Time to complete discovery must
be filed by this date.” (See Exhibit “A” attached hereto)
ill.

 

FEDERAL RULES OF CIVIL PROCEDURE 26a(2)(A) requires that:

“In addition to the disclosures required by paragraph (1), a party shall
disclose to other parties the identity of any person who may be used at trial
to present evidence under rule 702, 703, or 705 of the FEDERAL RULES OF
EVIDENCE.

IV.
FEDERAL RULES OF CIVIL PROCEDURE 26(a)(2)(B) requires that the disclosure
referred to above:

“Shall, with respect to a witness who is retained or specially employed to
provide expert testimony in the case or whose duties an employee of the
party regularly involved giving expert testimony, be accompanied by a
written report prepared and signed by the witness. The report shall
contain a complete statement of all opinions to be expressed and the basis
and reasons therefore; the data or other information considered by the
witness informing the opinion; any exhibits to be used as a summary of or
support for the opinion; the qualifications of the witness, including a list of all
publications authored by the witness, within the preceding ten years; the
compensation to be paid for the study and testimony; and a listing of any
other cases in which the witnesses testified as an expert at trial or by
deposition within the preceding four years.”

Neither Plaintiffs nor Plaintiffs’ “expert” has made any effort to comply with any of
the requirements of Federal Rules of Civil Procedure 26(a)(2)(B).
V.
FEDERAL RULES OF CIVIL PROCEDURE 26(a)(2)(C) requires that:
“these disclosures shall be made at the times and in the sequence

directed by the court,” or in this case no later than Friday, November 1,
2002. (See Scheduling Order . . Exhibit “A” attached hereto).

 

Defendant Hartford Lloyd’s Insurance Company's Motion to Exclude Plaintiffs Ventura Cerda and Celia Cerda’s
Motion to Exclude Plaintiffs’ Expert Mike Krismer 2
Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD_ Page 3 of 60

Vi.

Even though the plaintiffs were fully cognizant of this requirement and timely
designated expert Mike Krismer as one of their experts, neither Plaintiffs nor Mike Krismer
has timely supplied the written reports required both by the Court Scheduling Order and
by FEDERAL RULE OF CIVIL PROCEDURE 26(a)(2)(B).

Vil.

Such timely reports were not produced at a reasonable time in order to allow the
defendant to properly investigate and/or depose the plaintiffs’ so-called expert. Defendant
received the required report on November 1, 2002. (See Exhibit “D” attached hereto). By
virtue of this Court’s Scheduling Order, discovery ended on Friday, November 1, 2002 and
this defendant had no timely expert report from Mike Krismer nor did he properly or timely
respond to Depositions on Written Questions directed to him, (See Exhibit “B” attached
hereto); (3) nor did he appear at his duly noticed and agreed upon deposition scheduled
by agreement on October 29, 002 at 10:00 a.m. at the Federal Court Building in McAllen,
Texas. (See Exhibit “C” attached hereto). Such “expert” therefore, should be excluded
from testifying in this cause on the basis of: (1) plaintiffs’ and their expert’s apparent willful
violation of this Court's Order; (2) violation of FEDERAL RULES OF CIVIL PROCEDURE
Rule 26; (3) of a Federal Subpoena for his Deposition on Written Questions; and (4) his

inexcusable failure to appear at the agreed to date, time and place for his oral deposition.

 

Defendant Hartford Lloyd's Insurance Company's Motion to Exclude Plaintiffs Ventura Cerda and Celia Cerda’s
Motion to Exclude Plaintiffs’ Expert Mike Krismer 3
Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD_ Page 4 of 60

Vil.

Further, Defendant hereby challenges the qualifications of Mike Krismer, plaintiffs’
designated expert because he is not qualified and does not possess a higher degree of
knowledge, skill, experience, training or education than an ordinary person, and does not
have the practical experience and necessary academic training to support any expert
opinion of any material relevance in this cause.

IX.

It is in good faith, believed that the expert designated by the plaintiffs herein above,
holds opinions that are not reliable, that is, (1) that the expert’s testimony is not based
upon sufficient facts or data; (2) the expert's testimony will not be supported by reliable
principles and methods and; (3) the expert has not properly applied the correct principles
and methods of reliability to the facts of this case.

X.

Daubert v Merreill Dow Pharmaceutical Inc., 509 US 579, 113 S.Ct. 2786 (1993) set
forth several “general observations’ or factors for a trial Court to consider when evaluating
or testing the reasoning or methodology underlying the expert's testimony. Whether the
theory or technique underlying the expert's testimony can be or has been tested, implies
that an expert has conducted studies or analysis to substantiate their opinion. No such

information has been provided by Plaintiffs.

 

Defendant Hartford Lioyd’s Insurance Company’s Motion to Exclude Plaintiffs Ventura Cerda and Celia Cerda’s
Motion to Exclude Plaintiffs’ Expert Mike Krismer 4
Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD Page 5 of 60

XI.

Daubert also sets forth as a factor for the trial court to consider the known or
potential rate of error of the technique in existence and maintenance of standards
controlling the techniques operation. There has been no timely opinion offered by the
plaintiff by their expert, and therefore there is no known technique against which to test the
potential rate of error or the maintenance of relevant standards controlling such
techniques. (Daubertt, 509 US at 594, 113 S.Ct. at 2797).

Xl.

We have no idea whether the plaintiffs’ expert's opinion involves theories or
techniques that has been subjected to peer review in publication nor whether the experts
theory or technique enjoys general acceptance within a relevant scientific or medical
community. Additionally, we have no idea whether the named expert has unjustifiably
extrapolated from an accepted premise to an unfound conclusion. . . we have no written
opinions or reports from the expert whatsoever and the time to properly supply them has
long since past.

XIll.

Because there are no timely written expert opinions or reports, there is no
determination of any kind as to whether his opinions are relevant in any way. FEDERAL
RULES OF EVIDENCE 702 requires that the expert’s opinion must assist the trier of fact
to understand the evidence or determine the fact at issue. (Westbury v Gislaved Gummi

AB, 178 Fed.3rd 257, 260 (4" Cir.). There is no way to judge the relevance of the plaintiffs’

 

Defendant Hartford Lloyd's Insurance Company's Motion to Exclude Plaintiffs Ventura Cerda and Celia Cerda’s
Motion to Exclude Plaintiffs’ Expert Mike Krismer 5
Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD_ Page 6 of 60

proposed expert testimony since we have no timely supplied opinions and therefore can

not determine whether the reasoning or methodology of the expert opinions can be applied

properly to the facts in this case.

Defendant therefore, prays the Court exclude the testimony of plaintiffs’ previously

designated “expert” Mike Krismer and for such other and further relief to which this

defendant should show itself entitled.

Respectfully submitted,

 

Stihu—

F. Edward Barker _

State Bar No. 01741000

Federal |.D. No. 970
Attorney-in-Charge for Defendant
Hartford Lloyds Insurance Company
Tower II, Suite 1200

555 N. Carancahua St.

Corpus Christi, Texas 78478

(512) 881-9217; FAX (512) 882-9437

OF COUNSEL:
BARKER, LEON, FANCHER & MATTHYS,
L.L.P.

 

Defendant Hartford Lloyd's Insurance Company’s Motion to Exclude Plaintiffs Ventura Cerda and Celia Cerda's

Motion to Exclude Plaintiffs’ Expert Mike Krismer

6
Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD_ Page 7 of 60

CERTIFICATE OF SERVICE

| certify thaton November X___ 2002, a complete and correct copy of the MOTION
TO EXCLUDE PLAINTIFFS’ EXPERT WITNESSES MIKE KRISMER of was served on
each party by delivery to the following attorneys of record in the manner indicated below:

Certified Mail/RRR No. 7002 1000 0005 6854 1667
Ms. Savannah Robinson

LAW OFFICES OF SAVANNAH ROBINSON

1810 Main Street

Danbury, Texas 77534

Certified Mail/RRR No. 7002 1000 0005 6854 1636

Mr. David Garcia

LAW OFFICE OF DAVID GARCIA
101 North 10" Street

Edinburg, Texas 78539

 

F. Edward Barker

 

Defendant Hartford Lioyd’s Insurance Company's Motion to Exclude Plaintiffs Ventura Cerda and Celia Cerda’s
Motion to Exclude Plaintiffs’ Expert Mike Krismer 7
Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD_ Page 8 of 60

CERTIFICATE OF CONFERENCE
This will certify that | have conferred with opposing counsel via telephone
concerning the above and foregoing Defendant Hartford Lloyd’s Insurance Company's
Motion to Exclude Plaintiffs Ventura Cerda and Celia Cerda’s Expert Witness Mike
Krismer; opposing counsel in not in agreement with said Motion to Exclude Expert Witness;
and efforts to resolve the dispute without the necessity of court intervention have been

attempted and failed.

Signed this ¢ day of ene :

F. Edward Barker

 

Defendant Hartford Lloyd's Insurance Company's Motion to Exclude Plaintiffs Ventura Cerda and Celia Cerda’s
Motion to Exclude Plaintiffs’ Expert Mike Krismer 8
Case 7:02-cv-00118 Document15 Filed on 11/12/02 in TXSD Page 9 of “Uk oy G42

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5 IN THE UNITED STATES DISTRICT COURT
SEP 05 200% FOR THE SOUTHERN DISTRICT OF TEXAS EP Og 2002
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VENTURA CERDA AND CELIA CERDA

Vs. CIVIL ACTION NUMBER

HARTFORD LLOYD'S INSURANCE
COMPANY

M-02-118

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RULE 16, F.R.C.P. SCHEDULING ORDER

The following schedule will control the disposition of this

case:

1. NOVEMBER 1, 2002 ALL DISCOVERY must be completed by this

date. No motion for extension of time will
be granted unless there is a_ showing of
express need and that good cause exists.

2. OCTOBER 2, 2002 MOTIONS for extension of time to complete
discovery must be filed by this date.

3. NOVEMBER 11, 2002 MOTION DEADLINE: All other motions,

including joinder of parties, must be filed
by this date.

4, NOVEMBER 11, 2002 JOINDER OF ALL PARTIES will be accomplished
by this date. Counsel responsible for such
joinder will deliver a copy of this

Scheduling Order to all newly joined
parties.

5. NOVEMBER 27, 2002 A JOINT PRETRIAL ORDER shall be filed by
this date by counsel in the format

prescribed in Appendix B of the Local Rules
of the Southern District of Texas.

6. DECEMBER 4, 2002 A PRETRIAL CONFERENCE is set on this date

at 2:30 p.m. in the 10th Floor Courtroom,
Bentsen Tower, 1701 West Business
Highway 83, in McAllen, Texas.

 
Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD Page 10 of 60

Attendance by counsel for all parties is required at the
Pretrial Conference unless a written motion to reschedule the
Pretrial Conference has been granted by the Court. Failure to
timely file the Joint Pretrial Order will result in the imposition
of sanctions pursuant to Rule 16(f) F.R.C.P., including dismissal
or default judgment, as appropriate. Counsel are admonished that
any motion presented for filing which is not in compliance with
Local Rule 7 will be stricken from the record. Counsel are to
notify the Court immediately should the case be settled, and an
appropriate joint motion and dismissal order shall be submitted to

the Court.

The Clerk shall send a copy of this order to the counsel of

record for the party
“a

DONE on this day of September, 2002, at McAllen, Texas.

Ricardo H. Hinojosa
UNITED STATES DISTRICT JUDGE

 
Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD Page 11 of 60

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In the United States District Court
for the SOUTHERN District of Texas
MCALLEN Division

 

 

 

 

VENTURA CERDA AND CELIA CERDA §
§
vs. § CA No.: M-02-118
§
HARTFORD LLOYD'S INSURANCE §
COMPANY
AFFIDAVIT

Records pertaining to: CIVIL ACTION NO. M-02-118

Rosahiada the undersigned authority, personally appeared
CO

ROSAIA Janch £2 , who being by me duly
sworn, deposed as follows:

My name is Rosalinda Sanchez. I am over 18 years of age, of
sound mind, capable of making this affidavit, and personally
acquainted with the facts herein stated:

I am an employee of U.S. Legal Support, Inc. A subpoena
duces tecum for production of documentary evidence which was
issued by a Texas Notary Public, pursuant to Rule 176.4c., Texas
Rules of Civil Procedure, was sent to Michael T. Krismer, Krismer
& Company, Inc., by certified mail on September 17, 2002. I spoke
with Mr. Krismer's office over twenty times before setting a date
to pick up the records. We were scheduled to have the records
picked up from Mr. Krismer's office on October 29, 2002.
However, our runner, Lucia Tapia, was not able to reach anyone in
the office that day. Ms. Tapia called me on October 29, 2002 to
inform me that she was not able to reach anyone in the office. I
started calling Mr. Krismer's office, and have been leaving
messages since the 29. We have not had a response from Mr.

SANDRA ANN SHAW
MY COMMISSION EXPIRES Hahi2,

AFFIANT

Sworn to and hoo before me on this the oe day

of NOvem , 2002.
Cardia Q@nn Ohaus NOTARY PUBLIC, STATE OF TEXAS

My Commission Expires:

February 25, 2004

 

 

 

Affidavit/No Record
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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
McALLEN DIVISION

VENTURA CERDA AND
CELIA CERDA
VS. CIVIL ACTION NUMBER M-02-118

HARTFORD LLOYD'S
INSURANCE COMPANY

WM LH) tM) UM)

DEFENDANT HARTFORD LLOYD’S INSURANCE COMPANY’S
NOTICE OF INTENTION TO TAKE DEPOSITION BY WRITTEN QUESTIONS OF
EXPERT WITNESS MIKE KRISMER
TO: PLAINTIFFS, VENTURA CERDA and CELIA CERDA, BY AND THROUGH

THEIR ATTORNEYS OF RECORD, SAVANNAH ROBINSON, 1810 MAIN

STREET, DANBURY, TEXAS 77534, AND DAVID GARCIA, LAW OFFICE OF

DAVID GARCIA, 101 NORTH 10™ STREET, EDINBURG, TEXAS 78539.

In accordance with Federal Rule of Civil Procedure 31, you are hereby notified
that 14 days after service upon you of this Notice and a copy of the attached Written
Questions, Defendant Hartford Lloyd’s Insurance Company will take the deposition
of Mike Krismer, CIE, Contractor, 4838 Holly Rd., #104, Corpus Christi, Texas
78411, (361) 906-2200, upon these Written Questions and such Cross-Questions as
may be duly served. The deposition will be taken before an officer authorized to take
such depositions, U.S. Legal Support, Inc., 500 N. Water Street, Suite 500 S, Corpus
Christi, Texas 78471, (361) 883-1716.

This same officer will be requested to issue a subpoena duces tecum, pursuant

to Federal Rules of Civil Procedure 34(c), directing the witness to produce all of the

 

Defendant Hartford Lloyd’s Insurance Company’s
Notice of Intention to Take Deposition By Written Questions
of Expert Witness Mike Krismer - Page 1
Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD Page 13 of 60

following:

(1)

(2)
(3)

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(8)

Curriculum vitae;

(a) A list of your formal educational training after high school including
each course taken, the location where you took it and any college
degree earned.

(b) Any certificates earned, awarded by whom, detail each course
taken, over what period of time, and where.

A list of all publications written by the witness.

Copies of all publications written by the witness which deal with the areas
in which the deponent expects to testify in this case;

Any literature and research or study done by the witness or in which the
witness participated in any way, along with supporting statistics and
summaries of findings, regarding the subject areas in which the witness
expects to testify;

All documents, exhibits, facts, photographs, motion pictures, videos, t.v.
recordings, maps, drawings, charts, diagrams, measurements, surveys
and materials of every kind and nature representing or containing facts
upon which the witness may rely in giving testimony in this case, or which
may be used to represent, illustrate or explain the witness’ testimony in
this case;

A list of all information received by the witness about the case, whether
solicited or not, from the plaintiffs, plaintiffs’ attomeys or other experts or
other persons;

All written materials or photographs of any nature received by the witness
about the case, whether solicited or not, from the defendant, defendant's
attorneys, other experts or other persons;

(a) | Any written materials, photographs, motion pictures, videos or
recordings of any kind taken or prepared by you.

A list of all documents, reports, letters, studies and statistical data or
compilations that will be used to substantiate the witness’ opinions;

 

Defendant Hartford Lloyd's Insurance Company's
Notice of Intention to Take Deposition By Written Questions
of Expert Witness Mike Krismer - Page 2
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All documents constituting, reflecting or recording mathematical
calculations, formulas, equations, worksheets, charts and computer
printouts used in formulating any opinion to be offered in this case;

A printout of any computer programs in this case;
All computer-generated analyses done in this case;

Any visual displays or exhibits to be used by the witness at the trial in
connection with the offering of his opinions;

The witness’ entire file in this case of C. A. No. M-02-118; Ventura Cerda
and Celia Cerda vs. Hartford Lloyd’s Insurance Company;

A list of each case in which you have ever testified either by deposition or
in trial along with the names of the parties, the county and state in which
filed, the cause number and the amount of money you were paid in each
particular case; and

Please list each and every lawsuit in which you have been a defendant
giving: (a) the style and number of that lawsuit; (b) the state and county in
which it was filed, (c) a summary of the allegations made against you; (d)
and if concluded, the outcome, and (e) if settled and you or your insurer
paid any money to any other party, to whom and how much was paid.

 

Defendant Hartford Lloyd's Insurance Company's
Notice of intention to Take Deposition By Written Questions
of Expert Witness Mike Krismer - Page 3
Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD Page 15 of 60

Respectfully submitted,

 

F. Edward Barker

State Bar No. 01741000

Federal !.D. No. 970
Attorney-in-Charge for Defendant
Hartford Lloyd’s Insurance Company
Tower Il, Suite 1200

555 N. Carancahua St.

Corpus Christi, Texas 78478

(361) 881-9217; FAX (361) 882-9437

OF COUNSEL:
BARKER, LEON, FANCHER & MATTHYS,
L.L.P.

 

Defendant Hartford Lioyd’s Insurance Company's
Notice of intention to Take Deposition By Written Questions

of Expert Witness Mike Krismer - Page 4
Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD Page 16 of 60

CERTIFICATE OF SERVICE

| certify that on September ) , 2002, a complete and correct copy of
Defendant Hartford Lloyd’s Insurance Company’s Notice of Intention to Take
Deposition On Written Questions of Expert Witness Mike Krismer was served on

each party by delivery to the following attorney(s) of record in the manner indicated
below:

Via Certified Mail/RRR No. 7001 1940 0005 0775 6138
Ms. Savannah Robinson

LAW OFFICES OF SAVANNAH ROBINSON

1810 Main Street

Danbury, Texas 77534

Via Certified Mail/RRR No. 7001 1940 0005 0775 6145
Mr. David Garcia

LAW OFFICE OF DAVID GARCIA

101 North 10" Street

Edinburg, Texas 78539

 

F. Edward Barker

 

Defendant Hartford Lioyd’s Insurance Company's
Notice of Intention to Take Deposition By Written Questions
of Expert Witness Mike Krismer - Page 5
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AQ 88i(Rev. 13/91) Subpoena in a Civil Case

 

United States District Court

In the SOUTHERN District of Texas
MCALLEN Division

VENTURA CERDA AND CELIA CERDA SUBPOENA IN A CIVIL CASE
Vv CASE NUMBER: M-02-118

HARTFORD LLOYD'S INSURANCE COMPANY

To: The Custodian of Records for:
MICHAEL T. KRISMER KRISMER & COMPANY, INC.
2203 AYERS
CORPUS CHRISTI, TX 78404

In the SOUTHERN
District of Texas
MCALLEN Division

You are commanded to appear In the United States District Court at the place, date, and time specified

below to testify in the above case.

 

 

PLACE OF TESTIMONY

COURTROOM

 

 

DATE AND TIME

 

You are commanded to appear at the place, date, and time specified below to testify at the taking of a

deposition in the above case.

 

 

PLACE OF DEPOSITION

 

DATE AND TIME

 

You are commanded to produce and permit inspection and copying of the following documents or objects
at the place, date, and time specified below (list documents or objects): ANY AND ALL RECORDS

REQUESTED IN THE ATTACHED EXHIBIT A

 

PLACE

AT THE OFFICE OF THE CUSTODIAN:
2203 AYERS

CORPUS CHRISTI, TX 78404

DATE AND TIME
INSTANTER, 2002

BUT NOT MORE THAN

14 DAYS

 

You are commanded to permit inspection of the following premises at the date and time specified below.

 

 

PREMISES

 

DATE AND TIME

 

Any organization not a party to this suit that is subpoenaed for the taking of a deposition shall
designate one or more officers, directors, or managing agents, or other persons who consent to testify on
itsjbehalf, and may set forth, for each person designated, the matters on which the person will testify.

Féderal Rules of Ciyjl Procedure, 30(b) (6).

 

EST A TITLE (INDICATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT)

 

DATE

Ay} or

 

 

ISSUING OFFICER'S NAME, ADORESS, AND PHONE NUMBER

F. EXWARD BARKER, ATTORNEY FOR Defendant

BARKER, LEON, FANCHER, & MATTHYS, L

TOWER I] 1200, 555 N. CARANCAHUA STREET, CORPUS CHRISTI, TX 78478

 

{See Rule 46, Federal Rules of Civil Procedure, Parts C & 0)

 

 

 

 
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EXHIBIT A

Curriculum vitae;

(a)  Alist of your formal educational training after high schoo! including
each course taken, the location where you took it and any college
degree earned.

(b) Any certificates earned, awarded by whom, detail each course
taken, over what period of time, and where.

A list of all publications written by the witness.

Copies of all publications written by the witness which deal with the areas
in which the deponent expects to testify in this case;

Any literature and research or study done by the witness or in which the
witness participated in any way, along with supporting statistics and
summaries of findings, regarding the subject areas in which the witness
expects to testify;

All documents, exhibits, facts, photographs, motion pictures, videos, t.v.
recordings, maps, drawings, charts, diagrams, measurements, surveys
and materials of every kind and nature representing or containing facts
upon which the witness may rely in giving testimony in this case, or which.
may be used to represent, illustrate or explain the witness’ testimony in
this case;

A list of all information received by the witness about the case, whether
solicited or not, from the plaintiffs, plaintiffs’ attorneys or other experts or
other persons;

All written materials or photographs of any nature received by the witness
about the case, whether solicited or not, from the defendant, defendant's
attorneys, other experts or other persons;

(a) Any written materials, photographs, motion pictures, videos or
recordings of any kind taken or prepared by you.

A list of all documents, reports, letters, studies and statistical data or
compilations that will be used to substantiate the witness’ opinions;

 

Defendant Hartford Lloyd's Insurance Company's
Notice of Intention to Take Deposition By Written Questions
of Expert Witness Mike Krismer - Page 2
Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD Page 19 of 60

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All documents constituting, reflecting or recording mathematical
calculations, formulas, equations, worksheets, charts and computer
printouts used in formulating any opinion to be offered in this case;

A printout of any computer programs in this case;
All computer-generated analyses done in this case;

Any visual displays or exhibits to be used by the witness at the trial in
connection with the offering of his opinions;

The witness’ entire file in this case of C. A. No. M-02-118; Ventura Cerda
and Celia Cerda vs. Hartford Lloyd's Insurance Company;

A list of each case in which you have ever testified either by deposition or
in trial along with the names of the parties, the county and state in which
filed, the cause number and the amount of money you were paid in each
particular case; and

Please list each and every lawsuit in which you have been a defendant
giving: (a) the style and number of that lawsuit; (b) the state and county in
which it was filed, (c) a summary of the allegations made against you; (d)
and if concluded, the outcome, and (e) if settled and you or your insurer
paid any money to any other party, to whom and how much was paid.

 

Defendant Hartford Lloyd's Insurance Company's
Notice of Intention to Take Deposition By Written Questions
of Expert Witness Mike Krismer - Page 3
 

Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD Page 20 of 60

US Legal Support, Inc.

500 N. Water Street
Suite 500 S$

Corpus Christi, TX 78471-
(361) 883-1716

Fax (361) 888-6550

In the United States District Court
for the SOUTHERN District of Texas
MCALLEN Division

 

VENTURA CERDA AND CELIA CERDA

vs. CA No.: M-02-118

AMAMAA A

HARTFORD LLOYD'S INSURANCE COMPANY

 

 

TO ALL ATTORNEYS OF RECORD:

This shall serve as notification pursuant to Rule 31, Federal Rules of
Civil Procedure, that the following records and corresponding
"Deposition by Written Questions" in response to the above-referenced
case have been forwarded to F. EDWARD BARKER for filing with the court
at a later date.

Records pertain to: CIVIL ACTION M-02-118

CUSTODIAN DATE SUBMITTED TAXABLE
TO ATTORNEY cost
MICHAEL T. KRISMER KRISMER & COMPANY, INC.

(ANY AND ALL) I-L-O?- $ E22

Should you have any questions regarding this matter, please contact US
Legal Support, Inc..

Respectfully submitted,
US Legal Support, Inc.

For: F. EDWARD BARKER

cc: SAVANNAH ROBINSON
DAVID GARCIA

S-DO\Federal\ADM\ANY AND ALL\MICHAEL T. KRISMER KRISMER & COMPANY, INC.
Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD Page 21 of 60

IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
McALLEN DIVISION

VENTURA CERDA AND
CELIA CERDA
VS. CIVIL ACTION NUMBER M-02-118

HARTFORD LLOYD’S
INSURANCE COMPANY

WO) (0) C0 LO) C07 LO)

DEFENDANT HARTFORD LLOYDS INSURANCE COMPANY’S MOTION TO
EXCLUDE PLAINTIFFS VENTURA CERDA AND CELIA CERDA’S EXPERT
WITNESS MIKE KRISMER

EXHIBIT “C”
Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD Page 22 of 60

DEPOSITION OF MIKt .RISMER 10/29/2002

 

1 IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
MCALLEN DIVISION

3 VENTURA CERDA and )
CELIA CERDA,
4 Plaintiffs
5 VS CIVIL ACTION

NO. M-02-118

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7 HARTFORD LLOYDS
INSURANCE COMPANY,
8 Defendant.

10
11 CERTIFICATE OF NON-APPEARANCE
12 DEPOSITION OF MIKE KRISMER
13 OCTOBER 29, 2002

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U.S. LEGAL Support, Inc. - Corpus Christi
(361) 883-1716
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Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD Page 23 of 60

 

 

DEPOSITION OF MIKx «RISMER 10/29/2002
2

1 THE STATE OF TEXAS } :

2 COUNTY OF HIDALGO  }

3 I, Sindy Sanders, being over the age of

4 eighteen (18) years and of sound mind and a

5 Certified Shorthand Reporter in and for the State

6 of Texas, swear to the following:

7 On October 29, 2002, at the request of F.

8 EDWARD BARKER, BARKER, LEON, FANCHER & MATTHYS,

9 L.L.P., 555 N. Carancahua Street, Tower II, Suite [|
10 1200, Corpus Christi, Texas, I was present at THE
11 LAW OFFICES OF SAVANNAH ROBINSON, Federal
12 Courthouse Building, 1701 W. Business Highway 83, |
13 Room 222, McAllen, Texas, at 10:00 a.m. to report
14 the oral deposition of the witness, MIKE KRISMER.
15 At that time, I was informed that a Notice of
16 Oral Deposition With Subpoena Duces Tecum had
17 been forwarded to all parties. The Notice of the
18 Oral Deposition that was received by my office is
19 attached hereto as Exhibit No. 1.

20 At 10:30 a.m., the witness, MIKE KRISMER,

21 had not appeared for the purpose of giving his
22 deposition.
23 F. EDWARD BARKER, Counsel for Defendant,
24 then instructed me to complete a Certificate of
25

 

 

 

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Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD Page 24 of 60

DEPOSITION OF MIKE .RISMER 10/29/2002

 

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Non-Appearance.

THE STATE OF TEXA
COUNTY OF HIDALGO

SUBSCRIBED AND
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DY SANDERS

tified Shorthand Reporter
piration Date: 12/31/2002
LEGAL SUPPORT, INC.
N. Water Street

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pus Christi, Texas 78471 |
1) &83-1716
Simile (361) 888-6550

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SWORN TO BEFORE ME by Sindy
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RY PUBLIC IN AND FOR
STATE OF TEXAS

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My Commission Expires:

 

 

 

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Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD Page 25 of 60
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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
McALLEN DIVISION

VENTURA CERDA AND
CELIA CERDA

VS. CIVIL ACTION NUMBER M-02-118

HARTFORD LLOYD'S
INSURANCE COMPANY

CO) (0) (02 102 LO) LN

FIRST AMENDED NOTICE OF DEFENDANT, HARTFORD LLOYD’S INSURANCE
COMPANY TO TAKE THE ORAL DEPOSITION OF EXPERT MIKE KRISMER WITH
SUBPOENA DUCES TECUM
TO: PLAINTIFFS, VENTURA CERDA and CELIA CERDA, BY AND THROUGH THEIR
ATTORNEYS OF RECORD, SAVANNAH ROBINSON, 1810 MAIN STREET,
DANBURY, TEXAS 77534, AND DAVID GARCIA, LAW OFFICE OF DAVID
GARCIA, 101 NORTH 10™ STREET, EDINBURG, TEXAS 78539.
PLEASE TAKE NOTICE that pursuant to Rules 30 and 45 of the Federal Rules of
Civil Procedure, Defendant, Hartford Lloyd’s Insurance Company, by and through its
attorney of record below signed, will take the oral deposition of MIKE KRISMER at 1701
Business Highway 83, Room 222, Federal Court Building, McAllen, Texas 78501 on
Tuesday, October 29, 2002, beginning at 10:00 o'clock a.m. Said deposition will continue
from day to day until completed. It is intended that this notice shall also serve as a

Subpoena Duces Tecum and that the documents enumerated below are requested to be

produced at the time of the taking of this deposition.

 

First Amended Notice of Defendant to Take Oral Deposition DEPOSITION
of Expert Mike Krismer With Subpoena Duces Tecum - Page 1 EXHIB

TT

 
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Said deposition will be recorded stenographically and may be videotaped and will

be recorded by a court reporter provided by U.S. Legal Support, 1716, 500 N. Water

Street, Suite 500 S, Corpus Christi, Texas 78471.

The WITNESS ts requested to produce the original and any copies of the following

documents in his possession, or in the possession of his attorney. The documents to be

produced are as follows:

1.

2.

Curriculum Vitae;
A list of all publications written by the witness;

Copies of all publications written by the witness which deal with areas in
which the deponent expects to testify in this case;

Any literature and research or study done by the witness or in which the
witness participated in any way, along with supporting statistics and
summaries of findings, regarding the subject areas in which the witness
expects to testify;

All documents, exhibits, facts, photographs, motions pictures, videos, t.v.
recordings, maps, drawings, charts, diagrams, measurements, surveys and
materials concerning representing or containing facts upon which the witness
may rely in giving testimony in this case, or which may be used to represent,
illustrate or explain the witness’ testimony in this case;

A list of all information received by the witness about the case, whether
solicited or not, from the Plaintiffs, Plaintiffs’ attorneys or other experts or
other persons (including Defendant or Defendant's attorneys);

All written materials or photographs of any nature received by the witness
about the case, whether solicited or not, from the Plaintiffs, Plaintiffs’
attorneys, other experts or other persons (including Defendant or
Defendant's attorneys);

A list of all documents, reports, letters, studies or statistical data or
compilations that will be used to substantiate the witness’ opinions;

 

First Amended Notice of Defendant to Take Oral Deposition
of Expert Mike Krismer With Subpoena Duces Tecum - Page 2
Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD Page 28 of 60

10.

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14.

Alldocuments constituting, reflecting or recording mathematical calculations,
formulas, equations, worksheets, charts and computer printouts used in
formulating any opinion to be offered in this case;

A printout of any computer programs in this case;
All computer-generated analyses done in this case;

Any visual displays or exhibits to be used by the witness at the trial in
connection with the offering of his opinions;

The witness’ entire file in this case of Ventura Cerda and Celia Cerda vs.
Hartford Lloyds Insurance Company, Cause No. M-02-118

All reports prepared by you in connection with this litigation, all physical
models, compilations of data and other materials prepared by or relied upon
by you , or under your supervision and control, in anticipation for testimony
in this case;

pectfully submitted,

   
   

 

F. Edward Barker
State Bar No. 01741000

Federal 1.D. No. 970
Attorney-in-Charge for Defendant
Hartford Lloyd’s Insurance Company
Tower Il, Suite 1200

555 N. Carancahua St.

Corpus Christi, Texas 78478

(361) 881-9217; FAX (361) 882-9437

OF COUNSEL:
BARKER, LEON, FANCHER & MATTHYS,
L.L.P.

 

First Amended Notice of Defendant to Take Oral Deposition
of Expert Mike Krismer With Subpoena Duces Tecum - Page 3
Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD Page 29 of 60

CERTIFICATE OF SERVICE

| certify that on September 23, 2002, a complete and correct copy of Defendant
Hartford Lloyd’s Insurance Company’s First Amended Notice of Intention to Take
Oral Deposition of Expert Mike Krismer with Subpoena Duces Tecum was served on
each party by delivery to the following attorney(s) of record in the manner indicated below:

Via Certified Mail/RRR No. 7001 1940 0005 0775 1232
Ms. Savannah Robinson

LAW OFFICES OF SAVANNAH ROBINSON

1810 Main Street

Danbury, Texas 77534

Via Certified Mail/RRR No. 7001 1940 0005 0775 1225
Mr. David Garcia

LAW OFFICE OF DAVID GARCIA

101 North 10" Street

Edinburg, Texas 78539

£4) iA

. Edward Barker

 

 

First Amended Notice of Defendant to Take Oral Deposition
of Expert Mike Krismer With Subpoena Duces Tecum - Page 4
Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD Page 30 of 60

IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
McALLEN DIVISION

VENTURA CERDA AND
CELIA CERDA
VS. CIVIL ACTION NUMBER M-02-118

HARTFORD LLOYD'S
INSURANCE COMPANY

(CM) 10) UN UM) LO) CO)

ORDER ON DEFENDANT HARTFORD LLOYD’S INSURANCE COMPANY’S
MOTION TO EXCLUDE PLAINTIFFS VENTURA CERDA AND
CELIA CERDA’S EXPERT WITNESS, MIKE KRISMER
On this____ day of ,2002, came on to be heard the Defendant
Hartford Lloyd’s insurance Company’s Motion to Exclude Plaintiffs Ventura Cerda and
Celia Cerda’s Expert Witness, Mike Krismer, and the Court after hearing the argument and
evidence thereon is of the opinion that said Motion should be GRANTED.
It is therefore Ordered that Plaintiffs’ Expert, Mike Krismer , shall be excluded from

presenting any testimony or other evidence in the trial of this cause.

Signed and entered this__— day of 2002.

 

U.S. DISTRICT JUDGE

 

ORDER DEFENDANT HARTFORD LLOYD'S INSURANCE COMPANY'S MOTION TO EXCLUDE PLAINTIFFS VENTURA CERDA AND CELIA
CERDA'S EXPERT WITNESS MIKE KRISMER
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Krismer

Consulting

October 25, 2002

Ms. Savannah Robinson
1810 Maia
Danbury, Texas 77534

Subject: Preliminary Water Damage Assessment
Ventura Cerda Residence
323 W. Samano
Edinburg, Texas

Dear Ms. Robinson:

At your request, we performed a water damage assessment of the residence referenced
above. Our assessment was limited to conditions that may be conducive to growth of
molds or fungi and/or other water damage to the residence. Mike Krismer and Elizabeth
Krismer of this office conducted the inspection on October 23, 2002.

FINDINGS

Our Investigation regarding the water damage/fungal contamination to the intenor
portion of the residence ravealed the following:

1. The residence is a single-famity home constructed on a
concrete pier-and-beam type foundation. It Is conventionally
framed and is constructed with wood siding. The roofing
consists of composition shingles. A new roof was installed
approximately five years ago. The home Is over 50 years old,
and the Cerda family has owned the home for approximately 21
years. The building drain piping was replaced less than one year
ago.

2. We are in general agreement with the scope of damages
identified by HNP, Inc. during their investigation in March of
2002.

3. Water damage and mold growth were observed undemeath the
lavatory In the bathroom as a result of a previous leak.

4838Holly Rosd,#104 + Corpus Christi, Texas 78411 * (361)906-2200
1512 Dove Ave, Suite A ° McAllen, Texas 78504 * (956)630-0242

Forensic Consulting . Water Damage ° Environmental Assessments

 
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Preliminary Water Damage Assessment October 25, 2002
Cerda Residence

4. Water damage and mold growth were observed In the floor
joists and sub-flooring underneath the commode location as a
result of a floor flange leak.

5. Water damage and mold growth were observed in the floor
joists and sub-flooring underneath the tub location as a result of
a leak at the tub enclosure.

6. Water damage and mold growth were observed underneath the
kitchen sink, in the sub-flaoring, floor joists, and at the stringer
as a result of a previous leak in the building drain piping.

7. Water damage and mold growth were observed at the walls,
flooring, and ceiling in the water heater closet in the hallway as
a result of a leak at the water heater.

8. Water damage was observed at the southeast wall of the living
room as a result of water intrusion through the exterior wall
system as a result of roof leakage and/or wind driven rain.

9. Water damage was observed In the living room at the walls and
ceiling surrounding the fireplace as a result of roof leakage
and/or wind driven rain around the chimney.

10.Decay and water damage were observed at a number of
windows in the home as a result of deferred maintenance.

11. A musty odor was present in the home. This is typically
associated with water damaged buitding materials.

The interview with Mrs. Cerda revealed the following:

Mr. Cerda is experiencing headaches, neck pain, fatigue, sinus problems, shortness of
breath, dizziness, trouble sleeping, and allergy type symptoms. He had his gall bladder
removed about 9 years ago.

Mrs. Cerda is experiencing nosebleeds, headaches, neck pain, fatigue, irritability,
trouble sleeping, stuffy nose, congestion, halr loss, and allergy type symptoms.

Maritza Cerda, Mr. and Mrs. Cerda's 25 year-old daughter, is experiencing hair loss,
headaches, and allergy type symptoms.

Roberto Cerda, Mr. and Mrs. Cerda’s 14 year-old son is experiencing headaches,
watery eyes, fatigue, trouble sleeping, earaches, throat infections, and allergy type
symptoms. He underwent nasal surgery in February 2001. He continues snoring and
he still has trouble breathing.

Page - 2 -
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Preliminary Water Damage Assessment October 25, 2002
Cerda Residence

Luisa Cerda, Mr. and Mrs. Cerda’s 27 year-old daughter, is experiencing fatigue,
headaches, watery eyes, and allergy type symptoms.

Antonio Barbosa, Mr. and Mrs. Cerda’s 27 year-old son-in-law is experiencing
headaches, fatigue, and allergy type symptoms. He underwent nasal surgery in 2000.
He continues snoring and he still has trouble breathing.

Brianna Barbosa, Mr. and Mrs. Cerda's 7 year-old granddaughter, is experiencing
headaches, fatigue, earaches, throat infections, bronchitis, and allergy type symptoms.

Anthony Barbosa, Mr. and Mrs. Cerda's 3 year-old grandson, is experiencing bronchitis,
earaches, throat infections, and allergy type symptoms.

The occupants are in the process of relocating from their residence.
RECOMMENDATIONS & OPINIONS

Based upon our visual inspection of the home and the occupant Interview, we have
developed a preliminary scope of repalrs to address the water damage and/or microbial
growth at the Cerda residence. This scope of repairs is attached as an addendum to
this report. Testing results and/or additional information may become available which
would require modification of this scope of repairs.

We are; however, ready to render the following recommendations and opinions at this
time:

1. It is our recommendation that the occupants consider consulting with their
family doctor or a qualified health professional regarding occupancy of the
residence.

2. {t is our opinion that the water damage and/or cantamination at this
residence are the result of a number of distinct and separate water leaks
from plumbing systems, wind driven rain, and/or roof leaks.

3. It is our opinion that the leaks documented and observed have damaged
bullding materials at this residence.

4. It ls our opinion removal and replacement of the water damaged framing
members is the only prudent method of repair. This will require
replacement of framing and flooring {umber in the bathroom, a portion of
the kitchen, and the water heater closet.

5. Replace all damaged sill beam, joists, blocking, studs, sub-floor and
hardwood flooring. This will require the removal of all decayed lumber at
least three feet Into sound lumber. All new lumber should be treated .6
CCA where applicable. (See excerpts from attached - Wood Handbook).

Page -3-
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Preliminary Water Damage Assessment October 25, 2002
Cerda Residence

6. In the walls where stud damage is found, “sistering” of the studs may be
utilized under the following conditions:

1. Any damaged stud is cut back two to three feet past any
evidence of decay.

2. The added stud should run from plate to the ceiling.
This requires removal of wall finishes around the “sistered” stud.

7. It is our opinion that due to the age of the home, a survey for asbestos and
lead paint should be conducted prior to any work commencing on this
home.

8. We recommend that contractors performing remediation at this residence
be familiar with the following guidelines and standards regarding water
damage, mold remediation, and the cleaning of HVAC systems:

"Guidelines on Assessment and Remediation of Fungi in Indoor
Environments” published by the New York City Department of Health.

“Mold Remediation in Schools and Commercial Buildings" published
by the Environmental Protection Agency (EPA), March 2001.

"ICRC $500 Standard and Reference Guide for Professional Water
Damage Restoratlon” published by the Institute of Inspection Cleaning
and Restoration Certification

“Assessment, Cleaning, and Restoration of HVAC Systems ACR
2002", an Industry Standard Developed by the National Air Duct Cleaners
Association. Copyright © 2001 by NADCA.

You should understand that damage, which is not evident at this time, may be present
and could require additional work in order for clearance to be achieved should
remediation be attempted. We appreclate the opportunity to be of service to you.
Please feel free to call and discuss any of the information contained in this report.

Cordially,

Mb Ko
Mike Krismer, CIE C. Brock Thomas, CIE
Consultant General Contractor/Consultant

Page -4-
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Water Damage

Preliminary Scope of Repairs °S
Microbial Contamination

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f . TOTAL AREA = 1,459 SQ.FT.
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Scope identified by HNP:
Ventura Cerda Residence ee, Replace Wail
323 Samano “cnet Replace Flooring
Edinburg, Texas

 

 

 

 
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Preliminary Scope of Repairs
Water Damage Go

TOTAL AREA = 1.489 SQ FT mewn ee ee?
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omees= Replace Wall

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“nye Replace Flooring
f Replace Cabinets & Flooring
Replace Ceiling
Ventura Cerda Residence
- Replace Porous Finishes including acoustic ceiling.
323 Samano - Clean Entire House

Edinburg, Texas

 

 

 
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Ventura Cerda Residence

 

Photo # 1 -

Photo of front of the home.

 

Photo # 2 -

Photo of front door
and water damage at
this location as a
result of roof
leakage.

 
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Ventura Cerda Residence

 

 

 

 

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Photo # 3 -

Photo of fireplace and
water damage at this
location as a result of
roof leakage around
the chimney.

Photo # 4 —

Close-up of damage
on east side of
fireplace.
Ventura Cerda Residence

 

Photo # S$ -

Close-up of damage
at ceiling in front of
fireplace.

 

Photo # 6 —

Water damage on
wall above fireplace
mantel.
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Ventura Cerda Residence

 

Photo # 7 -

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Water damage at
ceiling in living room
on west side of room
as aresult of roof
leakage.

 

Photo # 8 -

Photo of kitchen
sink.

 

 
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Ventura Cerda Residence

 

Photo # 9 -

Photo of plumbing
undemeath kitchen
sink.

 

Photo # 10 —

Photo of water
damage and decay
underneath the
kitchen sink location
taken from the crawl
space.

 

 
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Ventura Cerda Residence

Photo # 11 -

Photo of bathroom
lavatory.

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Photo # 12 -

Water damage and
mold growth
undemeath the
bathroom lavatory.

 
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Ventura Cerda Residence

 

 

 

 

 

 

 

 

Photo # 13 -

Photo of commode in
bathroom.

Photo # 14 ~

Photo undermeath the
commode taken from
crawl space. PVC
building drain piping
was replaced in early
2002.
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Ventura Cerda Residence

 

 

 

Photo # 15 -
Photo of damage to
sub-floor and floor

joists underneath
bathroom.

Photo # 16 -

Photo of tub.
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Ventura Cerda Residence

Photo # 17 -

Photo of tub taken
from crawl space.
Evidence of leakage.

 

Photo # 18 —

Evidence of water
damage underneath
tub location taken
from crawl space.

 

 
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Ventura Cerda Residence

Photo # 19 -

Photo of water heater.

 

 

 

Photo # 20 -

Water damage and
mold growth at the
flooring by the hot
water heater as &
result of a leak at
this location.

 

 
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C.B. THOMAS COMPANY, INC.
4838 Holly Rd., #104

Corpus Christi, Texas 78411 NGY 0 ¢ 2002
(361) 906-2200 _ Facsimille - 906-2245

   

THE WRITER OF THIS STIMATE ASSUMES THE FOLLOWING:

|
4 THE ASBESTOS/MICROBIAL REMEDIATION/REPAIRS TO THE CERDA RESIDENCE LOCATED AT 333 W. SAMANO WILL BE
CONDUCTED UTILIZING LABOR AND MATERIAL OF LIKE KIND & QUALITY IN ACCORDANCE WITH FEDERAL,

| STATE AND LOCAL LAWS. THE REPAIRS WILL ALSO BE CONDUCTED AS PER THE RECOMMENDATIONS PROVIDED BY
i KRISMER/THOMAS DATED OCTOBER 28, 2002.

2. THE RESIDENCE WILL BE UNOCCUPIED & CONTENTS REMOVED AND DECONTAMINATED AND RESET BY OTHERS
WHILE THIS WORK IS BEING PERFORMED. (ESTIMATE APPROXIMATELY 60 WORKING DAYS).

3. THIS SCOPE IS SUBJECT TO CHANGE ACCORDING TO THE RESULTS OF HIDDEN DAMAGE AND OR INVESTIGATION
NECESSARY & NOT YET PERFORMED TO DATE.

A. ALL CONTRACTS & DRAW SCHEDULES WILL BE EXECUTED & AGREED UPON PRIOR TO COMMENCEMENT
OF WORK.

* UAP = UNDER ABATEMENT PROCEDURE
* UNC = UNDER NORMAL CONDITIONS
| THIS ESTIMATE IS PREDICATED ON THE QUANTITY SURVEY WHICH PRECEDES HEREWITH.
THE SURVEY IS SUBJECT TO MECHANICAL AND HUMAN ERROR. THIS ESTIMATE IS NOW, THEREFORE,
ee TO REVISION CONT! INGENT ON THE mre N ae OF MECHANICAL ANDIOR HUMAN ERROR

 

 

PROVIDE CONTAINMENT AREA INCLUDING DECONTAMINATION UNIT: Il

WORKER DECONTAMINATION/EQUIPMENT ENCLOSURE SYSTEM:

installation of a full containment work area including a 3 stage decontamination facility complete with hat and cold potable
water located reasonably close to the work area, acceptable to owner's environmental engineer of record

and/or consultant.

Set up cost to incl. labor & material, elec/piumb 1 ea. 2200.00 2,200.00 2,200.06
VACUUM ALL WALLS/CEILING/FLOOR (HEPA VACUUM).

HEPA Vacuum all surfaces of the affected area, clean twice; first time using a 10% biocide solution (bleach) with surfactant

additive (murphy oil/soap or ivory liquid soap), the second time with 25% biocide solution (bleach) with surfactant additive with

caution. Final wipe down ail walls/ceiling/surfaces within affected area with a emgicide i.e. microban x or equivalent.

Assume 6 man crew, 5 days

Unskitled labor - 5 men 200 hrs. 17.50 3,500.00 3,500.00
Skilled labor - 1 man 40 hrs. 35.00 1,400.00 1,400.0(
Hepa Vacuum 6 ea. 69.00 414.00 414.0(
Filters Primary 6 ea. 15.00 90.00 90.0(
Filter (Hepa) 1 ea. 65.00 65.00 65.0

 

TOTALS PAGE 1 WE S.7766 9°00) Sere

 
Case 7:02-cv-00118 Document 15 Filed on 11/12/02 in TXSD Page 48 of 60

 

Vacuum Bags 6 ea. 3.50 21.00 21.00
Biohazard bags 45 ea. 0.90 40.50 40.50
Disposable suit complete (2 changes daily) 16 ea. 15.25 244.00 244.00
Hepa respi filters (2 changes) 18 pair 6.00 108.00 108.00
Full face respirators (1 per man) 6 ea. 9.00 §4.00 §4.00
Microban x 36 Gal 32.15 1,157.40 1,157.40
Paper/cioth towel 2 box 175.00 350.00 350.00
Construct 2x4 walls, i.e.: confined space, provide double 6 mill plastic on floors, double 4 mill plastic on walls

sealed & taped at all joints as required. install critical barriers as required. Containment area will be attached to
decontamination unit. Containment area for attic and exterior as required.

Assume 5 man crew, 2 days

Unskilled labor - 1 man 48 hrs. 17.50 840.00 840.00
Skilled labor - 1 man 32 hrs. 35.00 1,120.00 1,120.00
2x2, 2x4 Random lengths 40 ea. 4.60 184.00 184.00
Nails/Screws 3 units 10.00 30.00 30.00
4x8x1/2 plywood 4 ea. 11.50 46.00 46.00
Duct tape 40 ds 3.75 150.00 150.00
6 Mill Plastic 8 ts 42.50 340.00 340.00
4 Mill plastic 8 ds 39.50 316.00 316.00
Trip Charge 3 Ea. 45.00 135.00 135.00
Biohazard bags 40 ea. 0.90 36.00 36.00
Disp. suit - 4 men/2 days (2 changes daily) 25 ea. 15.25 381.25 381.25
Hepa respi filters (2 changes) 10 pair 6.00 60.00 60.00
Full face respirators 10 ea. 9.00 90.00 90.00
During demolition & removal of the contaminated portion of the dwelling, workers will be required to

utilize 1/2 face respirators, Tyvek coveralls with foot & head protection, cotton gloves and rubber gloves.

Down time due to extreme working conditions is considered. Workers will take a 30 min. break every

60 minutes they work. (Approximately)

Assume 3 man crew, 13 days

Unskilled labor - 2 men 208 hrs. 17.50 3,640.00 3,640.00
Skill labor - 1 man 104 hrs. 35.00 3,640.00 3,640.00
Neg air purifier (use charge per unit) 13 days 120.00 1,560.00 1,560.00
* Ductwork Neg air (use charge per unit) 3 units 95.00 285.00 285.00
HEPA air scrubbers (use charge per unit) 3 units 120.00 360.00 360.00
Fitter primary 8 ea. 2.50 20.00 20.00
Filter secondary 8 ea. 7.50 60.00 60.00
Filter Hepa 2 ea. 95.00 190.00 190.00
Biohazard bags 100 ea. 0.90 90.00 90.0C
Disp. suit- 6 men/13 days (2 changes daily) 78 ea. 15.25 1,189.50 1,189.5C
Full face respirators (1 per man) 3 ea. 9.00 27.00 27.0C
Hepa resp. filters (3 changes) 9 pair 9.50 85.50 85.5C

*Back up unit on Site at al! times.

 

TOTALS PAGE 2

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Dismantle containment area & decontamination unit including cleaning of interior and exterior walls,
ceilings & floor. Hepa vacuum all materials prior to proper disposal. Reclean existing covered walls.

Assume 3 man crew, 3 days

Unskilled labor - 2 men 48 hrs 17.50 840.00 840.00
Skilled labor - 1 man 32 hrs. 35.00 1,120.00 1,120.00
Microban X 9 Gal. 32.15 289.35 289.35
Disposable suit (2 changes daily) 24 ea. 12.25 294.00 294.00
Paper/cloth towel 1 box 150.00 150.00 150.00
Biohazard bags 60 ea. 0.90 §4.00 §4.00
Full face respirators (1 per man) 3 ea. 9.00 27.00 27.00
Hepa respirator filter (2 changes) 3 pair 6.00 18.00 18.00
Hepa vacuum 6 ea. 69.00 414.00 414.00
Filter primary 12 ea. 15.00 180.00 480.00
Vacuum bags 12 ea. 3.50 42.00 42.00

Cleaning of all safety equipment and tools will require 1.5 hours daily.

Unskilled labor 33. hrs. 17.50 577.50 577,50
Microban X 4 gal 32.15 128.60 128.60
Paper/cloth towel 1 box 50.00 50.00 50.00
Biohazard bags 40 ea. 0.90 36.00 36.00

Supervision for entire remediation process.

Supervisor 176 hrs 40.00 7,040.00 7,040.0C
Engineering
Engineering/consultant for remediation 1 ea. 1500.00 1,500.00 1,500.0C

 

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LIVING ROOM 23.5 X 16.5'° X 8.0

{ACTUAL FOOTAGES]

WALL & CEILING S.F. 1028 WALLS ONLY S.F. 640
FLOOR / CEILING S.F. 388 YDS. 43 BASE / CROWN L.F. 80

The following scope/work will be conducted within the containment area with the decontamination unit
in place in accordance with federal, state and focal laws. (UNDER ABATEMENT PROCEODURE- UAP)

Rem/clean/box/store fan & light UAP 1 Ea. 52.50 52.50 52.50
Rem/clean/box/store door UAP 2 Ea. 16.50 33.00 33.00
Rem/clean/box/store door hardware UAP 2 Ea. 9.50 19.00 19.00
Remiclean/box/store threshold UAP 1 Ea. 14.50 14.50 14.50
Renvclean/box/store drapes & rods UAP 4 Ea. 22.50 90.00 90.00
Demo insulation ceiling UAP 48 s.f. 0.45 21.60 21.60
Demo insulation wails UAP 64 sf. 0.45 28.80 28.80
Demo plaster UAP 112 sf. 2.25 252.00 252.00
Demo carpet UAP 43 Yds. 6.50 279.50 279.50
Demo pad UAP 43 Yds. 2.00 86.00 86.00
Demo tack strip UAP 80 Lf. 0.90 72.00 72.00
Acid clean & sanitize slab UAP 388 s/f. 1.85 717.80 717.80
Apply Microban X UAP 1374 sf. 0.75 1,030.50 1,030.50

The following scope will be conducted after the containment area has been dismantled and removed from
the dwelling Le: the microbial contamination has been remediated. Clearance testing indicates negative
contamination within affected area and dwelling. (UNDER NORMAL CONDITIONS - UNC)

Reinstall fan & light UNC 1 Ea. 17.50 17.50 17.50
Reinstall door UNC 2 Ea. 10.50 21.00 21.00
Reinstall door hardware UNC 2 Ea. 5.50 11.00 11.00
Reinstall threshold UNC 1 Ea. 6.50 6.50 6.50
Reinstall drapes & rods UNC 4 Ea. 10.50 42.00 42.00
install insulation ceiling UNC 48 s/f. 0.55 26.40 26.40
install insulation walls UNC 64 sf. 0.45 28.80 28.80
install plaster UNC 223 sf. 7.55 1,683.65 1,683.65
install carpet UNC 43 Yds. 24.50 1,053.50 1,053.50
Install pad UNC 43 Yds. 2.96 126.85 126.85
lastall tack strip UNC 80 Lf. 0.35 28.00 28.00
Skimcoat w/c UNC 986 s/f. 2.25 2,218.50 2,218.50
Paint walls & ceiling UNC 986 sf. 0.41 404.26 404.26
Paint/Finish built-in cabinet UNC 4 Mf. 18.50 74.00 74,00
Paint/Finish base UNC 74 Lf. 0.50 37.00 37.00
Paint/Finish door openings b/s UNC 2 Ea. 15.00 30.00 30.00
Paint/Finish door b/s UNC 2 Ea. 24.00 48.00 48.00
Paint/Finish window openings UNC 4 Ea. 10.00 40.00 40.00
Paint/Finish window sill UNC 4 Ea. 4.50 18.00 18.00
Apply Microban X UNC 1374 s/f. 0.46 632.04 632.04

 

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The fotlowing scope will be conducted after the containment area has been dismantied and removed from
the dwelling i.e: the microbial contamination has been remediated. Clearance testing indicates negative
contamination within affected area and dwelling. (UNDER NORMAL CONDITIONS - UNC)

Reinstall light UNC

Reinstall door UNC

Reinstall door hardware UNC
Reinstall heat light vent UNC
Reinstall mirror UNC

Reinstall sink & faucet UNC
Reinstall toilet UNC

Reinstall tub UNC

Reinstall tub valve UNC
Reinstall shower valve UNC
Reinstall shower curtain/rod UNC
Reinstall drapes & rods UNC
Reinstall closet rod & shelf UNC
Reconnect Piumbing UNC
Reinstall p-trap assembly UNC
Install water heater UNC

Install plaster UNC

Install insulation walls UNC
install sheetrock UNC

Install tile base UNC

install shoe UNC

Install formica counter UNC
Install lav. cabinet UNC

Install wallpaper UNC

Prep for wallpaper UNC

install ceiling tiie UNC

Install ceramic tile floor UNC
install shower tile UNC

install soap dish UNC

Install deco trim UNC

install subfloor UNC

Paint closet walls UNC
Paint/Finish base UNC
Paint/Finish door openings b/s UNC
Paint/Finish door b/s UNC
Paint/Finish window openings UNC
Paint/Finish window sill UNC
Paint/Finish make-up cabinet UNC
Paint/Finish linen cabinet UNC
Protect floor UNC

Paint/Finish shelf UNC

Apply Microban X UNC

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32.50
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65.00
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2.05
9.50
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12.00
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0.41
0.50
15.00
24.00
10.00
4.50
20.00
24.00
0.50
3.50
0.46

 

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21.00
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8.50
32.50
48.50
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32.50
32.50
8.00
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3.25
22.50
22.50
74.00
1,087.20
36.00
121.60
35.75
4.95
97.50
165.00
130.00
14.50
202.95
323.00
429.00
12.00
46.75
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7.50
60.00
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21.00
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NOOK 14.5° X 9.5' X 8.0!

[ACTUAL FOOTAGES]

WALL & CEILING S.F. 522 WALLS ONLY S.F. 384
FLOOR / CEILING S.F. 138 YDS. 15 BASE / CROWN LF. 48

The following scope/work will be conducted within the containment area with the decontamination unit
in place in accordance with federal, state and local laws. (UNDER ABATEMENT PROCEDURE- UAP)

Rem/clean/box/store chandlier UAP 1 Ea. 55.00 55.00 55.00
Remiclean/box/store door hardware UAP 2 Ea. 9.50 19.00 19.00
Rem/clean/box/store bi-fold door UAP 2 Ea. 9.50 19.00 19.00
Rem/clean/box/store door chimes UAP 1 Ea. 16.50 16.50 16.50
Apply Microban X UAP 544 sf. 0.75 405.75 405.75

The following scope will be conducted after the containment area has been dismantled and removed from
the dwelling i.e: the microbial contamination has been remediated. Clearance testing indicates negative
contamination within affected area and dwelling. (UNDER NORMAL CONDITIONS - UNC)

Reinstall chandlier UNC 1 Ea 38.00 38.00 38.00
Reinstall door hardware UNC 2 Ea. 5.50 11.00 11.00
Reinstall bi-fold door UNC 2 Ea. 10.50 21.00 21.00
Reinstall door chimes UNC 1 Ea. 5.50 5.50 5.50
Paint walts & ceiling UNC 403 s/f. 0.41 165.23 165.23
Paint/Finish built-in cabinet UNC 4 If. 18.50 74.00 74.00
Paint/Finish base UNC 31 Lf. 0.50 15.50 15.50
Paint/Finish door openings b/s UNC 2 Ea. 1§.00 30.00 30.00
Paint/Finish door b/s UNC 2 Ea. 24.00 48.00 48.00
Paint/Finish shelf UNC 4 Ea. 3.50 14.00 14.0
Protect floor UNC 138 s.f. 0.50 69.00 69.0C
Apply Microban X UNC 541 sf. 0.46 248.86 248.8€
KITCHEN 8.5' X 10.5’ X 8.0’

[ACTUAL FOOTAGES]

WALL & CEILING S.F. 393 WALLS ONLY S.F. 304

FLOOR / CEILING S.F. 89 YDS. 10 BASE / CROWN L.F. 38

The following scope/work will be conducted within the containment area with the decontamination unit
in place in accordance with federal, state and local laws. (UNDER ABATEMENT PROCEDURE- UAP)

Rem/clean/box/store light UAP 1 Ea. 14.50 14.50 14.5(
Rem/clean/box/store stove UAP 1 Ea. 55.00 55.00 55.0(
Rem/clean/box/store sink & faucet UAP 1 Ea. 42.50 42.50 42.56
Rem/clean/box/store drapes & rods UAP 1 Ea. 22.50 22.50 22.5(
Demo insulation ceiling UAP 89 sf. 0.45 40.05 40.0!
Demo insulation walis UAP 32 sf. 0.46 14.40 14.4(

 

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Demo plaster UAP 32 s.f. 2.25 72.00 72.00
Demo cabinet base UAP 10.5 Lf. 45.50 477.75 4T7.75
Demo cabinet upper UAP 10.5 If. 40.00 420.00 420.00
Demo ceramic tile counter UAP 16 sf. 25.50 408.00 408.00
Demo window trim UAP 1 Ea. 15.50 15.50 15.50
Demo window sill UAP 1 EA. 7.50 7.50 7.50
Demo ceiling tile UAP 89 sf. 1.65 146.85 146.85
Demo viny! sheet goods UAP 8 Yds. 22.56 180.00 180.00
Demo subfloor UAP 32 sf. 5.50 176.00 176.00
Acid clean & sanitize slab UAP 89 s/f. 1.85 164.65 164.65
Apply Microban X UAP 398 s/f. 0.75 298.50 298.50

The following scope will be conducted after the containment area has been dismantied and removed from
the dwelling i.e: the microbial contamination has been remediated, Clearance testing indicates negative
contamination within affected area and dwelling. (UNDER NORMAL CONDITIONS - UNC)

Reinstall tight UNC 1 Ea. 10.50 10.50 10.50
Reinstall stove UNC 1 Ea. 22,50 22.50 22.50
Reinstall sink & faucet UNC 1 Ea. 32.50 32.50 32.50
Reinstall drapes & rods UNC 1 €a. 10.50 10.50 10.50
Reconnect elec. UNC 1 Ea. 60.00 60.00 60.00
Reconnect Plumbing UNC 1 Ea. 22.50 22.50 22.50
Install insulation ceiling UNC 89 sf. 0.55 48.95 48.95
Install insulation walls UNC 32 sf. 0.45 14.40 14.40
Install plaster UNC 32 s.f. 7.55 241.60 241.60
Install cabinet base UNC 10.5 Lf. 75.00 787.50 787.50
Install cabinet upper UNC 10.5 (Lf. 65.00 682.50 682.5C
Install window trim UNC 1 Ea. 18.50 18.50 18,5C
Install window sill UNC 1 Ea. 16.50 16.50 16.56
Install ceramic tile counter UNC 16 s/f. 16.50 264.00 264.0
install vinyi sheet goods UNC 8 Yds. 30.50 244.00 244.00
install ceiling tile UNC 89 sf. 2.05 182.45 182.4&
Install subfloor UNC 32 s.f. 2.75 88.00 88.00
Paint walls UNC 220 s.f. 0.41 90.20 90.2¢
Paint/Finish base UNC 15 (Lf. 0.50 7.50 7.5€
Paint/Finish window openings UNC 1 Ea. 10.00 10.00 10.0€
Paint/Finish window silf UNC 41 Ea. 4.50 4.50 4.5¢
Paint/Finish base cabinet UNC 10.5 Lf. 17.00 178.50 178.50
Paint/Finish upper cabinet UNC 10.5 Lf. 15.00 157.50 157.5(
Apply Microban X UNC 398 s/f. 0.46 183.08 183.08

 

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UTILITY ROOM: §.5' X 16.5' X 8.0'

[ACTUAL FOOTAGES]

WALL & CEILING S.F. 443 WALLS ONLY S.F. 352
FLOOR / CEILING S.F. 91 YDS. 10 BASE / CROWN L.F. 44

The following scope/work will be conducted within the containment area with the decontamination unit
in place in accordance with federal, state and local laws. (UNDER ABATEMENT PROCEDURE- UAP)

Rem/clean/box/store light UAP 1 Ea. 14.50 14.50 14.50
Remiclean/box/store/window unit UAP 1 Ea. 95.00 95.00 95.00
Remiclean/box/store door UAP 1 Ea. 16.50 16.50 16.50
Rem/clean/box/store door hardware UAP 1 Ea. 9.50 9.50 9.50
Rem/clean/box/store threshold UAP 1 Ea. 14.50 14.50 14.50
Rem/clean/box/store drapes & rods UAP 2 Ea. 22.50 45.00 45.00
Demo insulation ceiling UAP 91 sf. 0.45 40.95 40.95
Demo vinyl sheet goods UAP 10 Yds. 22.50 225.00 225.00
Demo ceiling tile UAP 91 sf. 1.65 150.15 150.15
Acid clean & sanitize slab UAP 91 sf. 1.85 168.35 168.35
Apply Microban X UAP 429 sf. 0.75 321.75 321.75

The following scope will be conducted after the containment area has been dismantled and removed from
the dwelling i.e: the microbial contamination has been remediated. Clearance testing indicates negative
contamination within affected area and dwelling. (UNDER NORMAL CONDITIONS - UNC)

Reinstall light UNC 4 Ea. 10.50 10.50 10.50
Reinstall window unit UNC 1 Ea. 27.50 27.50 27.50
Reinstall door UNC 1 Ea. 10.50 10.50 10.50
Reinstall door hardware UNC 1 Ea. 5.50 5.50 §.50
Reinstall threshold UNC 1 Ea. 6.50 6.50 6.50
Reinstall drapes & rods UNC 2 Ea. 10.50 21.00 21.00
install insulation ceiling UNC 91 sf. 0.55 50.05 50.05
install vinyl sheet goods UNC 10 Yds. 30.50 305.00 305.00
Instail ceiling tile UNC 91 sf. 2.05 186.55 186.55
Paint walls UNC 247 sf. 0.41 101.27 101.27
Paint/Finish base UNC 29 Lf. 0.50 14.50 14.50
Paint/Finish door openings b/s UNC 1 Ea. 15.00 15.00 15.00
Paint/Finish door b/s UNC 4 Ea. 24.00 24.00 24.00
Paint/Finish window openings UNC 2 Ea. 10.00 20.00 20.00
Paint/Finish window sill UNC 2 Ea. 4.50 9.00 9.00
Apply Microban X UNC 429 s/f. 0.46 197.34 197.34

 

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HALLWAY: 40° X 7.5' X 8.0'

LINEN CLOSET 2.5° X 2.0' X 8.0

(ACTUAL FOOTAGES]

WALL & CEILING S.F. 291 WALLS ONLY S.F. 256
FLOOR / CEILING S.F. 35 YDS. 4 BASE / CROWN LF. 32

The following scope/work will be conducted within the containment area with the decontamination unit
in place in accordance with federal, state and local laws. (UNDER ABATEMENT PROCEDURE- UAP)

Rem/clean/box/store door UAP 2 Ea. 16.50 33.00
Rem/clean/box/store door hardware UAP 2 Ea. 9.50 19.00
Acid clean & sanitize slab UAP 35 s/f. 1.85 64.75
Apply Microban X UAP 277 sf. 0.75 207.75

The following scope will be conducted after the containment area has been dismantled and removed from
the dwelling i.e: the microbial contamination has been remediated. Clearance testing indicates negative
contamination within affected area and dwelling. (UNDER NORMAL CONDITIONS - UNC)

Reinstall door UNC 2 Ea. 10.50 21.00

Reinstall door hardware UNC 2 Ea. 5.50 11.00

Paint ceiling only UNC 35 sf. 0.41 14.35

Paint walls UNC 207 sf. 0.41 84.87
Paint/Finish built-in cabinet UNC 4 If. 18.50 74.00
Paint/Finish base UNC 20 Lf. 0.50 10.00
Paint/Finish door openings b/s UNC 2 Ea. 15.00 30.00
Paint/Finish door b/s UNC 2 Ea. 24.00 48.00
Paint/Finish shelf UNC 4 Ea. 3.50 14.00

Protect floor UNC 35 sf. 0.50 17.50

Apply Microban X UNC 277 si. 0.46 127.42

MASTER BEDROOM 17.5' X 14.0° X 8.0'

PLUS 45° X 45'X 8.0'

CLOSET: 4.0° X 40° X 8.0'

CLOSET 2.5' X 4.0' X 8.0"

[ACTUAL FOOTAGES]

WALL & CEILING S.F. 1171 WALLS ONLY S.F. 880
FLOOR / CEILING S.F. 291 YDS. 32 BASE / CROWN L.F. 110

The following scope/work will be conducted within the containment area with the decontamination unit
in place in accordance with federal, state and local laws. (UNDER ABATEMENT PROCEDURE- UAP)

Rem/clean/bowx/store light UAP 1 Ea. 14.50 14.50
Remiclean/box/store fan & light UAP 1 Ea. §2.50 52.50
Remiclean/box/store door UAP 2 Ea. 16.50 33.00

 

TOTALS PAGE 11

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207.75

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48.00
14.00
17.50
127.42

14.5¢
52.5¢
33.0(

 
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Rem/clean/box/store door hardware UAP 2 Ea. 9.50 19.00 19.00
Rem/clean/box/store drapes & rods UAP 4 Ea. 22.50 90.00 90.00
Rem/clean/box/store shutters UAP 2 Ea. 15.50 31.00 31.00
Rem/clean/boxstore closet rod/shelf UAP 2 Ea. 5.60 11.00 11.00
Demo insulation ceiling UAP 291 sf. 0.45 130.95 130.95
Demo sheetrock UAP 48 sf. 2.25 108.00 108.00
Demo base UAP 14 1. 0.65 9.10 9.10
Demo ceiling tile VAP 291 sf. 1.65 480.15 480.15
Apply Microban X UAP 1357 s/f. 0.75 1,017.75 1,017.75

The following scope will be conducted after the containment area has been dismantled and removed from
the dwelling i.e: the microbial contamination has been remediated. Clearance testing indicates negative
contamination within affected area and dwelling. (UNDER NORMAL CONDITIONS - UNC)

Reinstall light UNC 1 Ea. 10.50 10.50 10.50
Reinstall fan & light UNC 1 Ea. 17.50 17.50 17.50
Reinstall door UNC 2 Ea. 10.50 21.00 21.00
Reinstall door hardware UNC 2 Ea. 5.50 11.00 11.00
Reinstall drapes & rods UNC 4 Ea. 10.50 42.00 42.00
Reinstall shutters UNC 2 Ea. 6.50 13.00 13.00
Reinstall closet rod & shelf UNC 2 Ea. 3.25 6.50 6.50
install insulation ceiling UNC 291 sf. 0.55 160.05 160.05
install sheetrock UNC 48 sf. 0.95 45.60 45.60
Install base UNC 14 Lf. 0.85 11.90 11.90
Install ceiling tile UNC 291 s/f. 2.05 §96.55 §96.55
Paint walls UNC 775 sf. 0.41 317.75 317.75
Paint/Finish base UNC 95 Lf. 0.50 47.50 47,50
Paint/Finish shutters UNC 2 ea. 18.00 36.00 36.00
Paint/Finish door openings b/s UNC 2 Ea. 15.00 30.00 30.00
Paint/Finish door b/s UNC 2 Ea. 24.00 48.00 48.00
Paint/Finish window openings UNC 4 Ea. 10.00 40.00 40.00
Paint/Finish window sill UNC 4 Ea. 4.50 18.00 18.00
Paint/Finish shelf UNC 2 Ea. 3.50 7.00 7.00
Apply Microban X UNC 1357 s-f. 0.46 624.22 624.22

 

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otal Page 1 $7,669.00 $7,669.00
otal Page 2 16,850.15 16,850.15
otal Page 3 12,760.45 12,760.45
Total Page 4 9,244.20 9,244.20
Total Page 5 2,428.98 2,428.98
Total Page §& 3,148.75 3,148.75
Total Page 7 4,232.40 4,232.40
Total Page 8 1,444.29 1,444.29
Total Page 9 §,744.93 §,744.93
Total Page 10 2,105.41 2,105.41
Total Page 11 876.64 876.64
Total Page 12 4,007.02 4,001.02
Total Page 13 17,800.00 17,800.0C
TOTAL ALL PAGES 88,306.22

Material Tax 2511.21

Overhead & Profit 21% 18,544.31

Total SE SADA SSF
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Education

1974 — HS. diploma, A&M Consolidated High School, College Station, Texas
1979 — B.A. degree, Rice University, Houston, Texas (major: Architecture)
1981-—J.D. degree, University of Texas Law School, Austin, Texas

Work History
- Texas Department of Water Resources

- Smith, R, R and R, Corsicana, Texas

- White, Huseman, Pletcher and Powers, Corpus Christi, Texas
- George Ann Harpole, P.C., Corpus Christi, Texas

- Soules and Wallace, LLP, Corpus Christi, Texas

- Law Office of S. Robinson, Corpus Christi, Texas

- Whittle, Cox & Robinson, Corpus Christi, Texas

- Cox & Robinson, Corpus Christi, Texas

- Law Office of S. Robinson, Corpus Christi, Texas

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Southern District of Texas #5922 (1986)
Western District of Texas (1989)
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Western District of Michigan (1995)

5" Circuit Court of Appeals (1990)
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